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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-cr-155 (ABJ)
                                              :
JACOB HILES,                                  :
                       Defendant.             :


       DEFENDANT’S MOTION FOR EARLY TERMINATION OF PROBATION

       Defendant, Jacob Gavin Hiles, by and through his undersigned counsel, seeks an Order

terminating his probation, and states as follows:

       1.      On January 19, 2021, Mr. Hiles voluntarily surrendered to the Federal Bureau of

Investigation (“FBI”) on an Arrest Warrant relating to misdemeanor offenses and was processed

at the United States District Court for the Eastern District of Virginia, where he was shackled. An

initial presentment was held that day and Mr. Hiles was released on his personal recognizance,

where the assigned judge refused to grant all of the Government’s requested conditions of release

given Mr. Hiles’ complete absence of a criminal history. On January 22, 2021, Mr. Hiles appeared

before Magistrate Judge Robin M. Meriweather by video, where he was again permitted to remain

on his personal recognizance.

       2.      On September 9, 2022, Mr. Hiles entered a guilty plea to one count of Parading,

Demonstrating, or Picketing in a Capitol Building, a petit misdemeanor offense, in violation of 40

U.S.C § 5104(e)(2)(G), which carries a maximum period of incarceration of six months. At the

conclusion of that proceeding, Mr. Hiles was permitted to remain on his personal recognizance.

       3.      As discussed at his sentencing, while inside the U.S. Capitol, Mr. Hiles did not

break, damage, or steal any property; hurt, injure, accost, or threaten law enforcement (or anyone

else); go into any private office space or proceed to the well of the House or the Senate. Mr. Hiles
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was not involved in planning or leading any of the activities that the crowd was engaged in on

January 6, 2021, nor was he associated with any of the groups reported to be responsible for aspects

of what occurred that day.

        4.      At 43 years of age, prior to his misdemeanor conviction in this case, Mr. Hiles has

been convicted of several traffic infractions and one DUI in 2004, has been in full compliance with

his conditions of bond and his conditions of probation. Prior to being arrested, and since his arrest,

Mr. Hiles fully cooperated with law enforcement at all stages of its investigation, including, but

not limited to: (i) giving a lengthy interview with FBI agents and full statements accounting to his

presence inside the U.S. Capitol; and (ii) providing his cellphone that was with him on January 6,

2021.

        5.      On December 6, 2021, this Court sentenced Mr. Hiles to twenty-four (24) months

of probation, pay a special assessment of $10.00, and restitution in the amount of $500.00. During

the sentencing hearing, the Court advised Mr. Hiles that if he abided by the terms of probation and

paid his special assessment and restitution, the Court would entertain a motion for early

termination of probation.

        6.      Mr. Hiles reports that on December 7, 2021, the day after he was sentenced, Mr.

Hiles paid his special assessment and restitution.

        7.      In addition, at Mr. Hiles’ sentencing hearing, Assistant United States Attorney

Mary Dohrmann stated that Mr. Hiles could not have been more cooperative up to that day.

        8.      Currently, Mr. Hiles is in full compliance with his supervision requirements as he

was during the term of his pretrial release in this matter.

        9.      It is expected that Mr. Hiles probation office, Daniel Miller will confirm that Mr.

Hiles has been in full compliance with the terms of his probation and will not object to his early
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release.

           10.   Accordingly, given the exemplary actions undertaken by Mr. Snow to expeditiously

pay full restitution and stay in compliance with the terms of his probation, Mr. Hiles respectfully

requests that his probation be terminated.



Dated: January 19, 2023                       Respectfully submitted,



                                              /s/ Charles R. Haskell
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                                 CERTIFICATE OF SERVICE

           I hereby certify on the 19th day of January, 2023 a copy of same was delivered to the

 parties of record, by email pursuant to the Covid standing orderand the rules of the Clerk of

 Court.

                                                      /S/          .
                                               Charles Haskell
